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   August 30, 2020


   The Honorable Danny C. Reeves
   United States Chief Judge
   US District Court
   101 Barr Street
   Lexington, KY 40507


   Dear Judge Reeves,

   This letter provides my personal character reference for Dr. Theodore L Gerstle.
   Theo has been a close friend of mine for the last fifteen years. I witnessed his four years of
   Med School at the University of Louisville, and was in attendance at his graduation where he
   received the commendation for Student of the Year and delivered an address to all the
   graduates and their guests. During those years, I. spent many happy hours with Theo and
   his children, witnessing the children growing from infants. I was a frequent visitor during
   the years the family lived in Boston. I have happily celebrated many holidays, birthdays, and
   Florida vacations with the family, and have enjoyed every minute of caretaking when I have
   been called. Since the family’s move to Lexington, I have often brought the children to
   Louisville to visit me there.

   Theo is definitely one of the people I admire the most. He has endured much adversity in
   both his personal and professional life, but has never once compromised in any way
   detrimental to the children, has never been anything but a rock for them. Many times over
   the years and during these adversities, he has reached out to discuss his issues and ask
   advice concerning the children. He is an extremely hands-on parent, on whom the children
   depend greatly, for both stability and affection in their daily lives.

   Theo’s capacity for endurance and perseverance is amazing! The divorce, as well as Theo’s
   professional issues, provided a catalyst to set him on track to better himself as a person,
   father, and physician. His diligent pursuit in these areas led him to undergo inpatient
   treatment, as well as continued regular counseling sessions. At this point in his life, it is
   obvious that Theo has dedicated himself, not only to self-improvement, but also to giving
   back, through both his humble endeavor to share his experiences and often offering to share
   his talents for care free of charge through his practice.

   Sincerely,

   Stephanie Sauter
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                                                             Christopher Neil Vashi MD




   May 14, 2020

   Character Reference :Theodore Gerstle MD

   To Whom It May Concern,

   This is a letter in reference to many aspects of Theodore (Theo as I know him) Gerstle. I
   can say that I know him as a man of many faces, faces that mirror myself. A Father, a
   Friend, a Physician, a Plastic Surgeon, a Recovering Alcoholic, and lastly a Human.

   As an alcoholic in recovery, I heard about a fellow plastic surgeon struggling with
   alcoholism in early 2018 much as I had recently struggled as well. I reached out to him to
   share my experience strength and hope. From that day, a relationship has grown that has
   mutually benefited not only us both, but our families, the world of medicine and the
   world of recovery.

   Starting with himself, Theo lost everything, including his children, his practice and his
   hope. Through the world of recovery, Theo took the first steps needed to recreate his life
   — a life of honesty and integrity. He went to treatment and afterwards, I met him in
   person through our similar meetings. He made great strides and began to walk the walk
   of recovery.

   Now with the life of recovery, comes the gifts that it brings. Some things come quickly
   and some things come slowly. However, Theo maintained a constant pursuit of an honest
   life. For a short period of time, his children were taken away from him. I will not
   elaborate on the details of the situation, but through his actions and his intentions I can
   proudly say that his children willingly live with him full time. We have visited several
   times and our families have interacted, and his children are wonderful young people in a
   stable environment — an environment that Theo has created for them in recovery.

   Theo was able to maintain his surgical practice and the practice of medicine. He
   overcame many hurdles. Some of them great and some of them small, some of them
   mandated but most of them personal. He used the steps of recovery to guide him.

   Theo has helped me along the way in my recovery. As I mentioned our families get
   together for social gatherings. I call him with my own struggles relating to the practice of
   medicine, children and recovery. In our meetings his viewpoints, mindset and discussions
   are inspiring. He helps not only the others in recovery, but his own situations with his
   outlook.
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   Lastly, as a human Theo understands his limitations. It is difficult for society to
   understand that we are all humans, and as such, we all make mistakes. It is said in
   recovery that the last thing to leave the alcoholic is the stigmata. This is a stigmata that I
   personally share with Theo. The only thing to do is to take the next step and do the next
   right thing. Theo has taken thousands of steps and done thousands of next right things.

   Let close with the facts about Theodore Gerstle. He is a human being that has made
   mistakes and will make mistakes as we all do. He is an alcoholic dedicated to maintaining
   his recovery. He is a plastic surgeon dedicated to his medical practice. He is a father who
   HAS and IS raising his three children single handedly. He is a friend to me and to the
   recovery community. He is a model of a physician in recovery. Two years of time has
   given him so much in recovery; just imagine what he can do with the rest of his life in
   recovery.




   Sincerely yours,




   Christopher Neil Vashi MD
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